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                  EXHIBIT A
                  (Redacted)
                                                                          Case 4:20-cv-05640-YGR                                                                    Document        1606-2
                                                                                                                                                                        Privilege Log Entries
                                                                                                                                                                                                                                              Filed 05/23/25                                              Page 2 of 2

Bates Number of      Number   Production      Production End Custodians                                     DocDate      DocTime    From           To               Cc                                                                                   Bcc   Subject            OriginalName Redact or PrivilegeType Privilege Description             Additional    Attorneys, Legal      Special        Optional
Parent Document               Beginning Bates Bates                                                                                                                                                                                                                                            Withhold                                                  Privilege     Staff, and            Master         Special
(Folder Title)                                                                                                                                                                                                                                                                                                                                           Context       Employees acting      Determination Master
                                                                                                                                                                                                                                                                                                                                                                       at the direction of   s (Priv - Yes; Notes
                                                                                                                                                                                                                                                                                                                                                                       counsel               Priv - No)

PRIV-APL-EG_00300070 13704    PRIV-APL-      PRIV-APL-      Wong, Angela (App Store)                        2023-05-16   01:16:01                                                                                                                                                 Direct message Redact    AttorneyClient; Document with redacted       Discussion of Document indicates yes
                              EG_00300070    EG_00300070                                                                                                                                                                                                                          Angela (App              WorkProduct text reflecting information      W P deck in information for the
                                                                                                                                                                                                                                                                                  Store) Wong,                             for the purpose of obtaining need of legal purpose of obtaining
                                                                                                                                                                                                                                                                                  Bri Cote and 4                           legal advice prepared by     approval      legal advice.
                                                                                                                                                                                                                                                                                  others - 2023-                           employees acting under the
                                                                                                                                                                                                                                                                                  05-16                                    direction of counsel
                                                                                                                                                                                                                                                                                  (UTC).pdf                                regarding injunction
                                                                                                                                                                                                                                                                                                                           compliance requirements
                                                                                                                                                                                                                                                                                                                           for user design and
                                                                                                                                                                                                                                                                                                                           interface, prepared in
                                                                                                                                                                                                                                                                                                                           anticipation or furtherance
                                                                                                                                                                                                                                                                                                                           of litigation
PRIV-APL-EG_00300199 13720    PRIV-APL-      PRIV-APL-      Gray, Eric; Magnani, Joseph; Gromek, Monika;    2023-06-06   21:29:15   Joseph Magnani Jennifer Brown   Monika Gromek                        Terry Liu                  ; Eric Gray                Re: 5/31       20230606-1429 Redact         AttorneyClient Email with redacted text                     Jennifer Brown       yes
                              EG_00300199    EG_00300201    Liu, Terry; Phillips, Joe; Elman, Josh; Wong,                                                                             Sean Cameron                                  Ling Lew                   Wisconsin Prep Re: 5-31                                    providing legal advice from                  (Apple in-house
                                                            Angela (App Store); Thai, Ann                                                                     Joe                         Ann Thai                          Josh Elman                         for Tim notes Wisconsin Prep                               counsel regarding                            counsel); Sean
                                                                                                                                                   Phillips                            ; Angela (App Store) Wong                                                              for Tim                                     injunction compliance and                    Cameron (Apple in-
                                                                                                                                                                                                                                                                              notes.eml                                   commission time window                       house counsel); Ling
                                                                                                                                                                                                                                                                                                                                                                       Lew (Apple in-house
                                                                                                                                                                                                                                                                                                                                                                       counsel)




PRIV-APL-EG_00300236 13724    PRIV-APL-      PRIV-APL-      Fischer, Matt; Oliver, Carson; Gray, Eric;      2023-06-06   05:45:20   Monika Gromek Jennifer Brown    Tanya Washburn                             Kunnal Vij                                      Re: 5/31       20230605-2245 Redact         AttorneyClient Email chain with redacted      redactions    Kyle Andeer (Apple in-yes
                              EG_00300236    EG_00300237    Washburn, Tanya; Kosmynka, Trystan; Barton,                                                             Timothy Kim                         Robert Kondrk                        ; Matt            Wisconsin Prep Re: 5-31                                    text reflecting legal advice   reflect legal house counsel);
                                                            Nate; Magnani, Joseph; Gromek, Monika; Liu,                                                             Fischer                            Terry Liu                 ; Eric Gray                   for Tim notes Wisconsin Prep                               from counsel regarding         advice        Jennifer Brown
                                                            Terry; Phillips, Joe; Elman, Josh; Wong, Angela                                                                           Trystan Kosmynka                             ; Sean Cameron                             for Tim                                     injunction compliance and      concerning    (Apple in-house
                                                            (App Store); Thai, Ann; Robbin, Jeff; Vij,                                                                                          ; Nate Barton                        ; Heather Grenier                        notes.eml                                   commission time window         strategy for  counsel); Sean
                                                            Kunnal; Kim, Timothy                                                                                                          Joe Phillips                          Ling Lew                                                                                                                 imposing      Cameron (Apple in-
                                                                                                                                                                                           Joseph Magnani                          ; Ann Thai                                                                                                            commissions house counsel);
                                                                                                                                                                                        ; Josh Elman                         Kyle Andeer                                                                                                                 or not in     Heather Grenier
                                                                                                                                                                                         ; Carson Oliver                              ; Angela (App                                                                                                      response to (Apple in-house
                                                                                                                                                                    Store) Wong                             ; Jeff Robbin                                                                                                                                court ruling  counsel); Ling Lew
                                                                                                                                                                                                                                                                                                                                                         with response (Apple in-house
                                                                                                                                                                                                                                                                                                                                                         prepared at counsel)
                                                                                                                                                                                                                                                                                                                                                         direction of
                                                                                                                                                                                                                                                                                                                                                         counsel


PRIV-APL-EG_00300238 13725    PRIV-APL-      PRIV-APL-      Oliver, Carson; Gray, Eric; Washburn, Tanya;    2023-05-03   00:09:05   Jeff Guebert   Jennifer Brown   Matt Volpe                        ; Dave Van Tassell                                       Re:                20230502-1709 Redact     AttorneyClient Email chain with redacted                    Jennifer Brown       yes
                              EG_00300238    EG_00300240    Kosmynka, Trystan; Cote, Bri; Barton, Nate;                                                             Gurpratap Virdi                   ; Timo Kim                       ; Katie                 Confidential       Re:                                     text related to legal advice                 (Apple in-house
                                                            Guebert, Jeff; Hawthorne, Amy; DuBois, Dana;                                                            Przytulski                     ; Josh Elman                       ; Zach Friedland         Project            Confidential                            from counsel regarding                       counsel); Ling Lew
                                                            Gromek, Monika; Friedland, Zach; Gharabally,                                                                                ; Payam Mirrashidi                        Sam Gharabally               (Codename          Project                                 injunction compliance                        (Apple in-house
                                                            Sam; Moore, Ken; Phillips, Joe; Przytulski,                                                                              Bri Cote                     ; Carson Oliver                              Wisconsin)         (Codename                               requirements for user                        counsel); Jason Cody
                                                            Katie; Virdi, Gurpratap; Pulchny, Liz; Elman,                                                                                    Sam Muther Bavaro                         Trystan                 Initial Planning   Wisconsin)                              design and interface                         (Apple in-house
                                                            Josh; Volpe, Matt; Wong, Angela (App Store);                                                            Kosmynka                          ; Ling Yang Lew                          Angela          Sync Meeting       Initial                                                                              counsel); Sean
                                                            Thai, Ann; Van Tassell, Dave; Kim, Timothy;                                                             (App Store) Wong                              Ann Thai                                     Notes + Next       Planni.eml                                                                           Cameron (Apple in-
                                                            Bavaro, Sam                                                                                             Dana DuBois                        Eric Gray                 ; Tanya Washburn              Steps                                                                                                   house counsel)
                                                                                                                                                                                        ; Monika Gromek                        ; Ken Moore
                                                                                                                                                                                               ; Nate Barton                      ; Jason Cody
                                                                                                                                                                                           Liz Pulchny                         Sean Cameron
                                                                                                                                                                                              ; Joe Phillips                        ; Amy Hawthorne
